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                             UNIT ED STAT ES DIST RICT COUR T
                              DIST RICT OF NEW HAM PSHI RE

UNIT ED STAT ES OF AME RICA                       )
                                                  )
               v.                                 )                  No. 1:21-cr-00041-JL
                                                  )
ARIA DIME ZZO                                     )


                                       PLEA AGRE EME NT

        Pursuant to Rules 1l(c)(l) (A), (B), and (C) of the Federal Rules
                                                                          of Criminal Procedure,
the United States of America by its attorney, Jane E. Young, United
                                                                    States Attorney for the
District of New Hampshire, and the defendant, Aria DiMezzo,
                                                            and the defen dant's attorney,
Richard Guerriero, Esquire, enter into the following Plea Agree
                                                                ment:
        1. The Plea and the Offense.

       The defendant agrees to plead guilty to Count 3 of the Indictment
                                                                         that charges her with
operation of an unlicensed money transmitting business in violat
                                                                 ion of 18 U.S.C. § 1960.
       In exchange for the defen dant's guilty plea, the United States
                                                                       agrees to the sentencing
stipulations identified in Section 6 of this agreement. The United
                                                                   States also agrees to move to
dismiss Counts 1, 17, 18, 19, 20, 25, 26, and 27 with respect to
                                                                 the defendant when she is
sentenced.

       2. The Statute and Elements of the Offense.

       Title 18, United States Code, Section 1960 provides, in pertin
                                                                      ent part:
       Whoever knowingly conducts, controls, manages, supervises,
                                                                     directs or owns all or part of
       an unlicensed money transmitting business ... [defined as] a money
                                                                             transmitting business
       which affects interstate or foreign commerce in any manner
                                                                       or degree and (B) fails to
       comply with the money transmitting business registration requir
                                                                        ements under section 5330
       of title 31, United States Code, or regulations prescribed under
                                                                         such section . .. [shall be
       guilty of an offense].

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 18 U.S.C. § 1960(b)(l)(B).

        The defendant understands that the offense has the following elements,
                                                                                  each of which the
 United States would be required to prove beyond a reasonable doubt
                                                                    at trial:
        First, that the defendant conducted, controlled, managed, supervised,
                                                                              directed, or owned a
        business;

        Second, that the business was an unlicensed money transmitting busine
                                                                              ss; and
        Third, that the defendant did so knowingly.

       Eric Wm. Ruschky, Pattern Jury Instructions for Federal Criminal Cases,
                                                                               District of
South Carolina § 1960 (2020 Online Edition).

        3. Offense Conduct.

        The defendant stipulates and agrees that if this case proceeded to trial,
                                                                                  the government
would introduce evidence of the following facts, which would prove
                                                                   the elements of the offense
beyond a reasonable doubt:

        From at least June 2020, and continuing through at least on or about
                                                                             January 2021 , the
defendant operated a business in the District of New Hampshire throug
                                                                      h which she exchanged
fiat currency (mostly United States dollars) for virtual currency for a
                                                                        fee. The defendant recruited
customers on websites, including localbitcoins.com, who sent money
                                                                   to her through bank
accounts opened in her name or in the name of the Reformed Satanic
                                                                   Church , an organization
she created. The defendant sent customers bitcoin or other virtual curren
                                                                          cy in return. The
defendant also worked with Ian Freeman, selling virtual currency to custom
                                                                           ers that Freeman
recruited, and paying him a percentage of the profits from the sales.

       The defendant sold over $1,500,000 but less than $3,500,000 worth of
                                                                            virtual currency

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through the bank accounts that she operated as part of the business. At
                                                                        no time did she register
her business as required by Title 31, United States Code, Section 5330,
                                                                        and related regulations.
She also did not comply with various other of these regulations. For examp
                                                                           le, at no time did she
file currency transaction reports for transactions over $10,000, or suspic
                                                                           ious   activity reports for
transactions over $2,000 that may involve funds derived from illegal activity
                                                                              , among other
things. Records from the Financial Crimes Enforcement Network ("FinC
                                                                     EN") with which money
transmitting businesses must register, would show that neither the defend
                                                                          ant nor the Reformed
Satanic Church ever registered.

       4. Penalties, Special Assessment and Restitution.

       The defendant understands that the penalties for the offense are:

       A.      A maximum prison term of 5 years (18 U.S.C. § 1960);

       B.      A maximum fine of $250,000 (18 U.S.C. § 3571);

       C.     A term of supervised release of not more than 3 years (18 U .S.C. § 3583).
              The defendant understands that the defendant's failure to comply with
                                                                                        any
              of the conditions of supervised release may result in revocation of
              supervised release, requiring the defendant to serve in prison all or part
                                                                                         of
              the term of supervised release , with no credit for time already spent on
              supervised release; and

       D.     A mandatory special assessment of $100, $100 for each count of convic
                                                                                       tion, at or
              before the time of sentencing (18 U.S.C. § 3013(a)(2)(A)); and in additio
                                                                                         n to the
              other penalties provided by law, the Court may order the defendant to
                                                                                     pay
              restitution to the victim(s) of the offense (18 U.S.C. § 3663 or§ 3663A
                                                                                      ).
      E.      To facilitate the payment and collection of any restitution that may be
                                                                                      ordered, the
              defendant agrees that, upon request, she will provide the United States
                                                                                      with a
              financial disclosure statement and supporting financial documentation.

              The defendant further agrees that, if restitution is ordered, it shall be due
                                                                                            and
              payable immediately after the judgm ent is entered and is subject to immed
                                                                                              iate
              enforcement, in full, by the United States. If the Court imposes a schedu
                                                                                           le of
              payments, the defendant agrees that the schedule of payments is a schedu
                                                                                            le of the

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                minimum payment due, and that the payment schedule does not prohib
                                                                                    it or limit
                the methods by which the United States may immediately enforce the
                                                                                   judgm ent in
                full, including, but not limited to, the Treasury Offset Program.


        5. Sentencing and Application of the Sentencing Guidelines.

        The defendant understands that the Sentencing Reform Act of 1984
                                                                         applies in this case
and that the Court is required to consider the United States Sentencing
                                                                        Guidelines as advisory
guidelines. The defendant further understands that she has no right to
                                                                       withdraw from this Plea
Agreement if the applicable advisory guideline range or her sentence
                                                                     is other than she
anticipated.

        The defendant also understands that the United States and the United
                                                                             States Probation
Office shall:

        A.      Advise the Court of any additional, relevant facts that are presently known
                or may subsequently come to their attention;

        B.      Respond to questions from the Court;

        C.      Correct any inaccuracies in the pre-sentence report;

       D.       Respond to any statements made by her or her counsel to a probation
                officer or to the Court.

       The defendant understands that the United States and the Probation Office
                                                                                 may address
the Court with respect to an appropriate sentence to be imposed in this
                                                                        case.
       The defendant acknowledges that any estimate of the probable senten
                                                                           ce or the probable
sentencing range under the advisory Sentencing Guidelines that she
                                                                   may have received from any
source is only a prediction and not a promise as to the actual sentencing
                                                                          range under the advisory
Sentencing Guidelines that the Court will adopt.

       6. Sentencing Stipulations and Agreements.

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         Pursua nt to Fed. R. Crim. P. l l(c)(l) (C), the United States and the
                                                                                defend ant stipulate
 and agree that the total offens e level is 19.

         The parties intend the above stipulations to be "bindi ng" under Fed.
                                                                               R. Crim. P.
 l l(c)(l) (C). By using the word bindin g the parties mean that if the
                                                                        Court will not accept the plea

agreem ent under Fed. R. Crim. P. 1 l(c)(3) (A), the plea agreem ent
                                                                     is null and void and the
defend ant will be allowe d the opport unity to withdr aw his guilty plea.

        Pursua nt to Fed. R. Crim. P. 1 l(c)(l) (B), the United States agrees
                                                                              to recom mend a
sentence within the adviso ry sentencing guidel ine range as determ ined
                                                                         by the Court.

        The parties are free to make recom menda tions with respect to the terms
                                                                                 of impris onmen t,
fines, condit ions of probat ion or superv ised release, and any other
                                                                       penalties, requirements, and
condit ions of senten cing as each party may deem lawful and approp
                                                                    riate, unless such
recom menda tions are incons istent with the terms of this Plea Agreem
                                                                       ent.

        7. Accep tance of Responsibility.

        The United States agrees that it will not oppose an appropriate reduct
                                                                               ion in the
defend ant's adjuste d offens e level, under the advisory Senten cing Guidel
                                                                             ines, based upon the
defend ant's appare nt promp t recognition and affirm ative accept ance
                                                                        of person al responsibility
for the offense. The United States, howev er, may oppose any adjustm
                                                                     ent for accept ance of
respon sibility if the defendant:

        A.      Fails to admit a compl ete factual basis for the plea at the time she is
                sentenced or at any other time;

       B.       Challe nges the United States' offer of proof at any time after the plea
                                                                                         is
                entered;

       C.       Denies involv ement in the offense;



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         D.     Gives conflicting statements about that involvement or is untruthful
                                                                                     with
                the Court, the United States or the Probation Office;

        E.      Fails to give complete and accurate information about her financial
                                                                                    status
                to the Probation Office;

        F.      Obstructs or attempts to obstruct justice, prior to sentencing;

        G.      Has engaged in conduc t prior to signing this Plea Agreement which
                reasonably could be viewed as obstruction or an attempt to obstruct
                justice, and has failed to fully disclose such conduct to the United States
                prior to signing this Plea Agreement;

        H.      Fails to appear in court as required;

        I.      After signing this Plea Agreement, engages in additional criminal conduc
                                                                                         t;
                or

        J.      Attempts to withdraw her guilty plea.

        The defendant understands and agrees that she may not withdraw her
                                                                           guilty plea if, for
any of the reasons listed above, the United States does not recommend
                                                                      that she receive a
reduction in her sentence for acceptance of responsibility.

        The defendant also understands and agrees that the Court is not require
                                                                                d to reduce the
offense level if it finds that she has not accepted responsibility.

        lfthe defend ant's offense level is sixteen or greater, and she has assiste
                                                                                    d the United
States in the investigation or prosecution of her own misconduct by
                                                                    timely notifying the United
States of her intention to enter a plea of guilty, thereby permitting the
                                                                          United States to avoid
preparing for trial and permitting the United States and the Court to
                                                                      allocate their resources
efficiently, the United States will move, at or before sentencing, to decrea
                                                                             se the defend ant's base
offense level by an additional one level pursua nt to U.S.S.G. § 3El.l(
                                                                        b).
       8. Waiver of Trial Rights and Consequences of Plea.



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          The defendant understands that she has the right to be represented by
                                                                                an attorney at every
stage of the proceeding and, if necessary, one will be appointed to represe
                                                                            nt her. The defendant
also understands that she has the right:

         A.      To plead not guilty or to maintain that plea if it has already been made;

         B.      To be tried by a jury and, at that trial, to the assistance of counsel;

         C.      To confront and cross-examine witnesses;

         D.      Not to be compelled to provide testimony that may incriminate her; and

         E.      To compulsory process for the attendance of witnesses to testify in her
                 defense.

         The defendant understands and agrees that by pleading guilty she waives
                                                                                 and gives up the
foregoing rights and that upon the Court' s acceptance of her guilty plea,
                                                                           she will not be entitled
to a trial.

         The defendant understands that if she pleads guilty, the Court may ask
                                                                                her questions
about the offense, and if she answers those questions falsely under oath,
                                                                          on the record, and in the
presence of counsel, her answers will be used against her in a prosecution
                                                                           for perjury or making
false statements.

         9. Acknowledgment of Guilt; Voluntariness of Plea.

        The defendant understands and acknowledges that she:

        A.      Is entering into this Plea Agreement and is pleading guilty freely and
                                                                                       voluntarily because
                she is guilty;

        B.      Is entering into this Plea Agreement without reliance upon any promis
                                                                                       e or benefit of any
                kind except as set forth in this Plea Agreement or revealed to the Court;

        C.      Is entering into this Plea Agreement without threats, force, intimidation,
                                                                                           or coercion;
        D.      Understands the nature of the offense to which she is pleading guilty,

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                including the penalties provided by law; and

        E.      Is completely satisfied with the representation and advice received from
                her undersigned attorney.

        10. Scope of Agreement.

        The defendant acknowledges and understands that this Plea Agreement
                                                                            binds only the
 undersigned parties and cannot bind any other non-party federal, state
                                                                        or local authority. The
 defendant also acknowledges that no representations have been made
                                                                    to her about any civil or
administrative consequences that may result from her guilty plea. The
                                                                      defendant understands
such matters are solely within the discretion of the specific non-party
                                                                        government agency
involved. The defendant further acknowledges that this Plea Agreem
                                                                   ent has been reached
without regard to any civil tax matters that may be pending or which
                                                                     may arise involving the
defendant.

        11. Collateral Consequences.

        The defendant understands that as a consequence of her guilty plea she
                                                                               will be
adjudicated guilty and may thereby be deprived of certain federal benefi
                                                                         ts and certain rights,
such as the right to vote, to hold public office, to serve on a jury, or to
                                                                            possess firearms.
       The defendant understands that, if she is not a citizen of the United States,
                                                                                     her guilty plea
to the charged offense will likely result in her being subject to immig
                                                                        ration proceedings and
removed from the United States by making her deportable, excludable,
                                                                     or inadmissible. The
defendant also understands that if she is a naturalized citizen, her guilty
                                                                            plea may result in ending
her naturalization, which would likely subject her to immigration procee
                                                                         dings and possible
removal from the United States. The defendant understands that the immig
                                                                         ration consequences
of this plea will be imposed in a separate proceeding before the immig
                                                                       ration authorities. The

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defendant wants and agrees to plead guilty to the charged offense regardless of any immigration

consequences of this plea, even if this plea will cause her removal from the United States. The

defendant understands that she is bound by her guilty plea regardless of any immigration

consequences of the plea. Accordingly , the defendant waives any and all challenges to her guilty

plea and to her sentence based on any immigration consequences and agrees not to seek to

withdraw her guilty plea, or to file a direct appeal or any kind of collateral attack challenging her

guilty plea, conviction, or sentence, based on any immigration consequences of her guilty plea.

        12. Satisfaction of Federal Criminal Liability; Breach.

        The defendant's guilty plea, if accepted by the Court, will satisfy her federal criminal

liability in the District of New Hampshire arising from her participation in the conduct that forms

the basis of the indictment in this case.

       The defendant understands and agrees that, if after entering this Agreement, she fails

specifically to perform or fulfill completely each one of her obligations under this Agreement,

fails to appear for sentencing, or engages in any criminal activity prior to sentencing, she will

have breached this Agreement.

       If the United States, in its sole discretion, and acting in good faith, determines that the

defendant committed or attempted to commit any further crimes, failed to appear for sentencing,

or has otherwise violated any provision of this Agreement, the United States will be released

from its obligations under this Agreement, including, but not limited to, any agreement it made

to dismiss charges, forbear prosecution of other crimes, or recommend a specific sentence or a

sentence within a specified range. The defendant also understands that she may not use her

breach of this Agreement as a reason to withdraw her guilty plea or as a basis to be released from


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her guilty plea.

         13. Waivers.

        A. Appeal.

        The defendant understands that she has the right to challenge her guilty plea
                                                                                      and/or
sentence on direct appeal. By entering into this Plea Agreement the defendant
                                                                              knowingly and
voluntarily waives her right to challenge on direct appeal:

        1.      Her guilty plea and any other aspect of her conviction, including, but not
                limited to, adverse rulings on pretrial suppression motion(s), other adverse
                dispositions of pretrial motions or issues, or claims challenging the
                constitutionality of the statute of conviction; and

        2.      The sentence imposed by the Court if it is consistent with or lower than
                the stipulations in Section 6 of this agreement.

        The defend ant's waiver of her rights does not operate to waive an appeal based
                                                                                        upon new
legal principles enunciated in Supreme Court or First Circuit case law after the
                                                                                 date of this Plea
Agreement that have retroactive effect; or on the ground of ineffective assistan
                                                                                 ce of counsel.
        B. Collateral Review

        The defendant understands that she may have the right to challenge her guilty
                                                                                      plea and/or
sentence on collateral review, e.g., a motion pursuant to 28 U.S.C. §§ 2241 or
                                                                               2255. By
entering into this Plea Agreement, the defendant knowingly and voluntarily waives
                                                                                  her right to
collaterally challenge:

        1.     Her guilty plea, except as provided below, and any other aspect of her
               conviction, including, but not limited to, adverse rulings on pretrial
               suppression motion(s), other adverse dispositions of pretrial motions or
               issues, or claims challenging the constitutionality of the statute of
               conviction; and

       2.      The sentence imposed by the Court if it is consistent with or lower than
               the stipulations specified in Section 6 of the agreement.

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        The defendant's waiver of her right to collateral review does not operate to waive a

collateral challenge to her guilty plea on the ground that it was involuntary or unknowing,
                                                                                            or on
the ground of ineffective assistance of counsel. The defendant's waiver of her right to collatera
                                                                                                  l
review also does not operate to waive a collateral challenge based on new legal principle
                                                                                          s
enunciated by in Supreme Court or First Circuit case law decided after the date of this Plea

Agreement that have retroactive effect.

        C. Freedom of Information and Privacy Acts

        The defendant hereby waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United States
                                                                                         any
records pertaining to the investigation or prosecution of the case(s) underlying this Plea

Agreement, including without limitation any records that may be sought under the Freedom
                                                                                         of
Information Act, 5 U.S.C. §552, or the Privacy Act of 1974, 5 U.S.C. §522a.

        D. Appeal by the Government

        Nothing in this Plea Agreement shall operate to waive the rights or obligations of the

Government pursuant 18 U.S.C. § 3742(b) to pursue an appeal as authorized by law.

        14. No Other Promises.

       The defendant acknowledges that no other promises, agreements, or conditions have been

entered into other than those set forth in this Plea Agreement or revealed to the Court, and
                                                                                             none
will be entered into unless set forth in writing, signed by all parties, and submitted to the
                                                                                              Court.
        15. Final Binding Agreement.

       None of the terms of this Plea Agreement shall be binding on the United States until this

Plea Agreement is signed by the defendant and the defendant's attorney and until it is signed
                                                                                              by

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the United States Attorney for the District of New Hampshire, or an
                                                                    Assistant United States
Attorney.

        16.    Agreement Provisions Not Severable.

        The United States and the defendant understand and agree that if any
                                                                             provision of this
Plea Agreement is deemed invalid or unenforceable, then the entire Plea
                                                                        Agreement is null and
void and no part of it may be enforced.

                                                      JANE E. YOUN G
                                                      United States Attorney



      9/8/22
Date: _  _ _ _ _ __                              By: _ _ _ _ _ _ _ _ _ __
                                                     Georgiana L. MacDonald
                                                     Assistant United States Attorney
                                                     Bar Association #685375
                                                     53 Pleasant St., 4th Floor
                                                     Concord, NH 03301
                                                     Georgiana.macdonald@usdoj.gov

       The defendant, Aria DiMezzo, certifies that she has read this 13-pag
                                                                            e Plea Agreement
and that she fully understands and accepts its terms.


Date:
                                                            iM7z ;, Defendant
       I have read and explained this 13-page Plea Agreement to the defend
                                                                           ant, and she has
advised me that she understands and accepts its terms.


Date:   ~ -   7- ?a "2- ")..,




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